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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


 TAX-FREE FIXED INCOME FUND FOR PUERTO
 RICO RESIDENTS, INC., et als
                                                           CIVIL NO.: 3:22-cv-01101-ADC
           Plaintiffs

                v.

 OCEAN CAPITAL LLC, et als.

          Defendants


                                        NOTICE OF APPEARANCE

TO THE HONORABLE COURT:

          To the Clerk of the Court and all parties of record, the undersigned hereby gives notice of his

appearance on behalf of the Defendants Ocean Capital LLC, PRCE Management LLC, William Heath

Hawk, Benjamin T. Eiler, Vasileiros A. Sfyris, José R. Izquierdo II, Brent D. Rosenthal and Roxana Cruz-

Rivera.

          WHEREFORE, the undersigned respectfully requests that the Clerk of the Court and all

parties take notice of the foregoing.

          RESPECTFULLY SUBMITTED.

          I HEREBY CERTIFY that on this same date a copy of the foregoing was electronically filed with

the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to the

attorneys of record.

          In San Juan Puerto Rico, this 30th day of March, 2022.



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